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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA                                  4/14/2020
                                 LYNCHBURG DIVISION

 TERESA MOREY,                                   )
                                                 )
      Plaintiff,                                 )    Civil Action No.: 6:19cv24
                                                 )
 v.                                              )
                                                 )
 AVANTE AT LYNCHBURG, INC. et al,                )
                                                 )
                                                 )
      Defendants.                                )

                                               ORDER

          The parties informed the Court that they settled this matter and request that the Court stay

 the case to allow for performance of the settlement terms. Having discussed the matter with the

 parties, and finding good cause to do so, the case is hereby STAYED. The parties are

 DIRECTED to submit status updates to the Court on August 30, 2020 and November 30, 2020.

 It is SO ORDERED.

                                                               Entered: April 14, 2020


                                                               Robert S. Ballou
                                                               Robert S. Ballou
                                                               United States Magistrate Judge
